         Case 1:20-cv-02403-MKV Document 62 Filed 03/30/22 Page 1 of 1



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UNITED STA TES DISTRICT COURT                                                  .,-       ..__ ••' -
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SOUTHERN DISTRICT OF NEW YORK                                                                                                                                                                  ! I   ~   :.., ·•.
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FAMILY EQUALITY; TRUE COLORS UNITED,                                                           '
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INC.; and SERVICES & ADVOCACY FOR GLBT                                                              . .· 2...,---T-l ~J\Jd.0-
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ELDERS,                                                                )   r         •     -       J        ~.        f       >       '           •       •   l    .'   •   ' - ~ ,__)..._,;




                                   Plaintiffs,
                 -against-                                                           20                CIVIL 2403 (MKV)

                                                                                               JUDGMENT
XAVIER BECERRA, in his official capacity as
Secretary, United States Department of Health and
Human Services; and THE UNlTED ST ATES
DEPARTMENT OF HEALTH AND HUMAN
SERVICES,

                                   Defendants.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated March 30, 2022, Defendants' Motion to Dismiss is

GRANTED. Because the Court is without subject matter jurisdiction to adjudicate the dispute,

the case is dismissed WITHOUT PREJUDICE; accordingly, the case is closed.

Dated: New York, New York

          March 30, 2022


                                                                     RUBY J. KRAJICK

                                                                           Clerk of Court
                                                               BY:

                                                                           DeputyClerk'
